Case 2:04-cr-20416-SH|\/| Document 24 Filed 08/22/05 Page 1 of 2 Page|D 28

 

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UNITED sTATES oF AMERICA, ) Wm 0§§'§":»?*55""¥%3
Plaintiff, §
vs. § CR. NO. 04-20416-Ma
DERICO BOBBIT, §
Defendant. §

 

ORDER ON CONTINULNCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on July 22, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning September 6, 2005 at 9:30 a.m., with a
report date of Friday, August 26, 2005 at 2:00 p.m.

The period from July 22, 2005 through September l6, 2005 is
excludable under 18 U.S.C. § 3161{h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

'a.\-»'L

day of August, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

IT IS SO ORDERED this

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:04-CR-204]6 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

